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 8                           UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11    Steven C. Zepeda,                                  Case No.: 21cv0625 AJB RBB
12                                      Plaintiff,       Jury Trial Preparation and
      v.                                                 Scheduling Order
13
14    Persolve Legal Group, LLP, DNF
      Associates, LLC,
15
                                     Defendants.
16
17
            Trial must be so prepared and conducted as to minimize disruption and maximize
18
     concentration on the evidence and witnesses. The following special procedures are
19
     intended to further this objective and apply in this Court. These are in addition to, and
20
     supplement, other applicable Local Rules.
21
                                          TRIAL DATES
22
           1.     Trial will be heard before Judge Battaglia in Courtroom 4A on
23
     November 1, 2022 at 8:30 a.m. The trial will last 3 days.
24
                                      MOTIONS IN LIMINE
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           2.     Motions in Limine will be heard on August 15, 2022 at 4:00 p.m. via
26
     Zoom. The Court Court will initiate the Zoom call. Each side is allowed a maximum
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     of five (5) Motions in Limine. All Motions in Limine and trial brief must be filed and
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 1   faxed or personally served on opposing counsel no later than August 2, 2022. Written
 2   opposition to in Limine motions, if any, must be filed and faxed or personally served on
 3   opposing counsel no later than January 8, 2022. Replies will not be accepted. Each
 4   motion and each opposition thereto are limited to five (5) pages in length. Attachments
 5   are also limited to a maximum of five (5) pages for any motion or opposition. Trial briefs
 6   are limited to twenty-five (25) pages in length, including exhibits and attachments.
 7       3.       Motions in Limine must be limited in scope to evidentiary issues where
 8   attempts to "unring the bell" would be unduly prejudicial or futile. Motions for judgment
 9   on the pleadings, summary judgment or summary adjudication, Daubert, leave to amend
10   or bifurcation are not in Limine motions within the scope of this order.
11       4.       Motions in Limine must be prepared in the form prescribed as follows: The
12   title of each in Limine motion should identify the moving party and describe the nature of
13   the motion, and should be numbered sequentially, indicating the total number of in
14   Limine motions filed by the moving party. Example: "Plaintiff JANE DOE's Motion in
15   Limine to Exclude the Testimony of Joe Expert [No. 1 of 5]." Written opposition to in
16   Limine motions, if any, should identify both the party filing the opposition, and the
17   specific motion which is being opposed by name of moving and motion number.
18   Example: "Defendant RICHARD ROE's Opposition to Plaintiff JANE DOE's Motion in
19   Limine No. 1."
20                                        STIPULATIONS
21       5.       Stipulations and agreements must be reduced to writing so they can be read
22   into the record. All facts which are not contested must be listed in a form suitable to read
23   to the jury. These must be filed seven (7) days before the trial date.
24                                 EVIDENCE AND EXHIBITS
25       6.       Before the start of trial, counsel must mark all exhibits listed in the Pre-trial
26   Conference Order, and those not displayed and/or exchanged at the time of the
27   preparation of the Pre-trial Conference order which the parties seek leave of Court to
28   introduce. Digitized exhibits must be digitally branded with an exhibit number and the
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 1   page numbers of the exhibit. Exhibits not listed on the Pre-trial Conference Order and/or
 2   exchanged in the above meeting are subject to exclusion at trial, true impeachment
 3   exhibits excepted. A Joint Exhibit list must be prepared and filed [JOINT EXHIBIT
 4   LIST DUE DATE]. A sample of the Exhibit form is attached as Exhibit A hereto. All
 5   exhibits must be numbered, not lettered. Counsel may agree to number ranges (e.g.,1-100
 6   and 101-200) for their respective uses.
 7       7.       A copy of the Expert Report of each expert on the parties’ witness list must
 8    be lodged with the Courtroom Deputy Clerk for Courtroom 4A seven (7) days before
 9   Trial.
10        8.      Counsel must avoid duplication of exhibits. For example, a contract in
11   dispute should only be marked as one exhibit, with all sides to utilize at trial.
12        9.      Counsel should waive authentication evidence of documents where
13   authentication is not an issue.
14      10.       Voluminous documents or exhibits must be culled of unnecessary pages so
15   that only relevant pages, or pages supplying context to the relevant pages are admitted.
16      11.       Counsel should use summaries or charts to prove the content of voluminous
17   documents, writings or recordings that cannot be conveniently examined in court. See,
18   Federal Rule of Evidence 1006 in this regard.
19      12.       Exhibits, including physical evidence, may not be passed among the jury
20   during trial. If counsel wish the entire panel to examine a particular exhibit prior to
21   deliberations, they should either provide blowups or use the Court’s visual equipment.
22      13.       All audio and video exhibits to be entered into evidence will be
23   submitted on a thumb drive. Discs will no longer be accepted.
24                                         DEPOSITIONS
25      14.       Counsel must lodge a copy of the transcript of the deposition of each witness
26    on the parties’ witness list on the [Status hearing]. Video depositions that are to be
27   played to the jury must have captioning. Counsel are ordered to meet and confer on the
28   proposed deposition transcript to be read to the jury and file a revised set of designations
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 1   to be read to the jury with objections thereto. Objections will be resolved at the [next
 2   hearing.]
 3                                            VOIR DIRE
 4         15.     No later than seven (7) days before the trial, the parties must file an agreed
 5   summary of the factual nature of the case and any alleged injuries or damages in addition
 6   to a joint list of witnesses who are likely to be called.
 7         16.     If counsel wish to expand the scope of the judge's initial voir dire, they
 8   should prepare and file written questions for the trial judge seven (7) days before the trial.
 9         17.     Counsel will be allowed brief follow-up voir dire after the Court's
10   questioning. Counsel's questions must be calculated to discover bias or prejudice with
11   regard to the circumstances of a particular case. Repeating the questions already asked
12   by the Court, questions attempting to precondition the jury to a parties’ position, argue
13   the law, or the fats will not be allowed. A full description of the jury selection procedure
14   is attached as Exhibit B hereto.
15                                   OPENING STATEMENTS
16         18.     Unless otherwise ordered, the Court will allow 30 minutes for each opening
17    statement.
18                                        INTERPRETERS
19         19.     If an interpreter is needed for a witness, please make arrangements in
20   advance.
21                                AUDIO/VISUAL EQUIPMENT
22         21.     The Court now has new audio/visual equipment for counsels’ use. In brief,
23   the podium is wired to connect with counsel’s computers, laptops and tablets. A VGA or
24   HDMI connector is required for your devices. There is now a Document Camera (Elmo)
25   in place, with an annotation feature, and a Blue Ray player. Finally, the jury box is
26   equipped with digital monitors, as are counsel tables and a gallery monitor. Counsel
27   ///
28   ///
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 1   should contact the CRD for details and instructions and with questions regarding the use
 2   of equipment not provided for by the Court.
 3         IT IS SO ORDERED.
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 5   Dated: July 22, 2022
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 1                                    EXHIBIT LIST
 2
 3           Offered by     Brief      Admissibility   Legal Grounds      Date    Date
 4    No.       (P/D)     Description Disputed (Y/N)   For Objection(s)   Off’d   Adm
 5     1.
 6     2.
 7     3.
 8     4.
 9     5.
10     6.
11     7.
12     8.
13     9.
14    10.
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18                                        Exhibit A
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 1                                         The Chambers of
 2                                    United States District Judge
 3                                        Anthony J. Battaglia
 4
 5                                JURY SELECTION PROCESS
 6                                           (Civil Cases)
 7
 8   THE NORMAL PROCEDURE UTILIZED IN COURTROOM 4A FOR JURY SELEC-
 9   TION IN CIVIL CASES IS AS FOLLOWS:
10          1.     The Court typically seats a jury of six (6) to twelve (12) persons in civil
11   cases. This depends on the scheduled length of the trial. Under Federal Rule of Civil
12   Procedure 48, all of the seated jurors participate in the verdict. The number of jurors will
13   be set at the Pretrial Conference.
14          2.     Each party (side) in a civil case is entitled to three (3) peremptory
15   challenges. The Court may alter the number of challenges depending upon the number of
16   parties (sides).
17          3.     Before the Judge takes the bench, the bailiff takes the role of the panel. The
18   panel members have been randomly assigned juror numbers by the Jury Administrator
19   and will be seated numerically. Seating charts will be supplied to counsel by the clerk.
20          4.     Court takes the bench and the panelists are sworn.
21          5.     The Court questions the panelists and inquires of each whether he or she
22   knows of any reason why that person cannot be completely fair and impartial and secures
23   a commitment from each that the panelist will follow the law as instructed. [A copy of
24   the Court's initial Voir Dire can be found on the Court's Website
25   (www.casd.uscourts.gov) under Chambers Rules.] At this time the Court also asks any
26   appropriate questions submitted by counsel.
27          6.     Counsel for each party (side) is then given a reasonable amount of time to
28   question the panelists. Except for unusual cases, the time allotted to each party (side) is
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 1   15 minutes, on occasion 20 minutes. If counsel has not been dilatory in examining the
 2   panel and it appears to the Court that additional time is necessary to adequately question
 3   the panel, the Court will allow additional time. In order to adequately question in the
 4   time allotted, counsel are advised to address questions to the panel as a whole and then
 5   follow up with questions to individual panelists who respond affirmatively to either the
 6   Court's questions or to the general questions of counsel. If you follow the approach of
 7   going over your areas of inquiry with each panelist individually, the questioning will
 8   probably not be completed in the time allowed and a request for additional time will be
 9   denied.
10         7.     After each counsel has completed examining the panel and challenges for
11   cause have been ruled on at "side bar," the parties exercise their peremptory challenges.
12   The Court uses a double blind strike format. The challenges are directed to all of the
13   panelists remaining after the disposition of challenges for cause. A challenge sheet is
14   passed to each party (side) and each party (side) will record their peremptory challenges.
15   After the challenges have been exercised, the lists will be shared with all counsel. The
16   first eight (or other number fixed by the Court) panelists remaining, in the order in which
17   they were seated, will constitute the jury. Before the challenged and non-selected
18   prospective jurors are excused, the Court will ask counsel (at "side bar") if there is any
19   objection to the peremptory challenge process (i.e. Batson). If a party has a challenge of
20   this nature, that will be heard outside the presence of the jury panel. After all challenges
21   and objections, the Court will announce those selected, and will then thank and excuse
22   the remaining prospective jurors.
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26                                             Exhibit B
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